                        IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA


 NOTICE OF AVAILABILITY OF PRO SE SETTLEMENT ASSISTANCE PROGRAM


 Christopher Jonas Brooks,                  )
                                            )
                                            )
        vs.                                 )
                                            )    Case No. 1:25-cv-00058-MOC-WCM
                                            )
 Healthcare Allience North America          )
 Asheville Detox LLC,




       The Western District of North Carolina has implemented the WDNC Pro Se

Settlement Assistance Program (“Program”), a court-wide program that allows a pro se

litigant to have the benefit of an attorney at a court-ordered settlement conference.

Through the Program, volunteer attorneys provide free legal assistance to pro se parties

regarding settlement of their cases, including attending and assisting parties in

connection with settlement conferences. The volunteer attorney, who is appointed by the

Judge presiding over the case, will assist you in preparing for the settlement conference

and shall participate in the settlement conference on your behalf. While the assistance

that is provided by Program attorneys is free, you will be required to pay a portion of the

costs of mediation, including the mediator fee, unless the Court determines that you are

indigent or you reach some other agreement with the other party or parties to your case

regarding payment of the costs.


       If a settlement is reached, the volunteer attorney will assist you in drafting a

settlement agreement and other documents that may need to be filed with the Court in




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order to close the case. If a settlement is not reached after diligent efforts, the volunteer

attorney’s participation in the case will end.


       Your participation in the Program is entirely voluntary. You will be assigned a

volunteer attorney only if you so indicate on this form below and return it to the Clerk’s

Office within fourteen (14) days from the date on which you received it. If you elect not

to participate in the Program, you may still be required to attend a settlement conference

as directed by the Court.


       BE ADVISED THAT a volunteer attorney will provide assistance under the

Program only with respect to advice, preparation, and participation in the

settlement conference. The volunteer attorney’s representation will not extend to

any other part of the litigation process.          If settlement is not reached at the

settlement    conference,     the   volunteer    attorney’s    representation     will   end

automatically and the volunteer attorney will no longer represent you in any

capacity.


       NOTE: Local Rule 16.1 normally requires you and the other represented parties

in this action to confer and conduct an Initial Attorney’s Conference (“IAC”) within fourteen

(14) days of joinder of the issues. The requirement to conduct an IAC is tolled, however,

during your fourteen (14) day opt in period.




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           PLEASE SELECT ONE OF THE OPTIONS BELOW:


      I choose to participate in the WDNC Pro Se Settlement Assistance

        Program. By signing this form, I acknowledge that any assistance

        rendered to me by a volunteer attorney will be limited to efforts to settle

        the case through a settlement conference and that the volunteer attorney

        will not be obligated to assist me with any other part of the litigation

        process. I can be contacted at

        Phone: __________________ Email: ___________________________

      I choose NOT to participate in the WDNC Pro Se Settlement Assistance

        Program. I understand that I may still be required to attend a settlement

        conference as directed by the Court.


  Date:____________                         ________________________________
                                            Signature of Pro Se Litigant

                                            ________________________________
                                            Print Name

                                            1:25-cv-00058-MOC-WCM
                                            _______________________________
                                            Case Number



               PLEASE COMPLETE THIS FORM AND RETURN IT
                 WITHIN FOURTEEN (14) DAYS OF RECEIPT
                                  TO THE
                     U. S. DISTRICT CLERK OF COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                AT ONE OF THE ADDRESSES LISTED BELOW:

  Asheville Division         Charlotte Division            Statesville Division
  100 Otis St.               401 W Trade St.               200 W. Broad St.
  Rm. 309                    Rm. 210                       Rm. 304
  Asheville NC 28801         Charlotte NC 28202            Statesville NC 28677




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